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          EXHIBIT 2
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                                                                                             US010009720B2

 (12) United States Patent                                           ( 10 ) Patent No.: US 10 ,009,720 B2
         Pérez LaFuente                                              (45) Date of Patent:    * Jun . 26 , 2018
 (54 ) METHOD AND SYSTEM FOR MONITORING                           (58 ) Field of Classification Search
         A MOBILE STATION PRESENCE IN A                                 CPC ....... H04W 4 /00 _ 4 /206 ; H04M 1/7253 ; H04B
         SPECIAL AREA                                                                                                       5 /00
                                                                                                  (Continued )
 (71) Applicant: AFIRMA CONSULTING &
                   TECHNOLOGIES, S .L ., Madrid (ES)              (56 )                       References Cited
 (72 ) Inventor: Carlos A . Pérez LaFuente, Madrid                                    U .S . PATENT DOCUMENTS
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 ( 73 ) Assignee : Afirma Consulting & Technologies ,                     6 , 122 ,520 A        9 /2000 Want et al.
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 ( * ) Notice :    Subject to any disclaimer, the term of this                   FOREIGN PATENT DOCUMENTS
                   patent is extended or adjusted under 35
                   U .S .C . 154 (b ) by 0 days. days .           WO                          1171 A1
                                                                                           0001171 A           1/ 2000
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                   This patent is subject to a terminal dis       WO              WO -0103372 A11 /2001
                   claimer .
 ( 21 ) Appl. No.: 14 /738 ,083                                                        OTHER PUBLICATIONS
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 ( 22 ) Filed : Jun . 12 , 2015                                   Jun . 21, 2007 .
 (65 )                 Prior Publication Data                                                     (Continued )
         US 2015/0281895 A1 Oct. 1, 2015                          Primary Examiner — San Htun
               Related U .S . Application Data                    (74 ) Attorney, Agent, or Firm — Edell, Shapiro & Finnan ,
                                                                  LLC
 (63 ) Continuation of application No. 14 /561,426 , filed on
       Dec . 5 , 2014 , now Pat. No. 9, 119 ,030 , which is a     (57)                          ABSTRACT
                          ( Continued )
                                                                  Method formonitoring the presence of a mobile station in at
 (30 )           Foreign Application Priority Data                least one special area , wherein a radio communication
                                                                  defining device transmits one radio distinctive defining
   Mar. 28, 2006 ( EP)                          .... 06111804     signal that define the special area by its coverage, the mobile
                                                                  station processes a signal received in order to determine
 (51) Int . CI.                                                   whether or not it is defining signal and more precisely a
         H04W 36 /00            ( 2009.01)                        distinctive one that defines the special area , the mobile
         H04W 47021             ( 2018 .01)                       station sends an updating signal to a mobile telephone
                         ( Continued )                            network , the network routes the updating signal to special
 (52 ) CPC
       U .S. CI........ H04W 4 /021 (2013 .01); H04M 3/42365      operating means that adapt the value of an operating param
                                                                  eter. According to the invention , the special area is associ
                       (2013 .01); H04M 3/42374 (2013 .01) ;      ated to the mobile station by transmitting to the mobile
                         (Continued )                                                            (Continued )


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                                                    À                                                    302
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                                                          US 10 ,009,720 B2
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station a checking data used by the mobile station for                             6 ,552 ,648 B1 * 4 /2003 Rick .............        ... B60R 25/ 00
determining whether or not the defining signal received is                         6 ,625 ,442 B1   9 /2003 Kojima
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 (58 ) Field of Classification Search                                          2008 /0095125 A1 * 4 /2008 Soomro ................ H04W 48 / 12
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                         106 106 107
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              106
                       107
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                             106
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             A
             107                       AM107
                                       106                 A
                                                           -
                                                           107




            106                                                                 106 FIG
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                       106    4107                                   A
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           FIG                                          757
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                                             Shes3087
                                             Sheet 3 of 7     US 10 ,009 ,720 B2




                      306




              3
              .
              FIG




                                              300 306
                                                        307
                      306
                              307
                                       306
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                                                                             FIG _ 4
                                                                                                  to        Transmit, store, erase
                                                                                                            andmaintain CD in a MS




                        S -402
                       in Start CD
                          management Lasten402



                             Definition of
                             a new SA

                                                The 5 .
                                                    comment             Planning SA
                                                                        deactivation
                                                                                                                        Modify a SA
                                                                                                                                   synonymweld 450
                                                                                                                      WLWAY WALAUPUNKI




                       DB in SOMS
                                    MWWW WA

                       UPD parameters L - 406



                       CD (re )sent from
                       SOMs to the MS
                                                              EE
                                                              10
                                                              400
                                                                       SA deactivation at
                                                                       parameters DB




                                                                 mes asaDeactiv . SIG from
                                                                        SOMs to the MS
                                                                                                       NO
                                                                                                                    UPD parameters
                                                                                                                    DB in SOMS




                                                                                                                     CD (re )sent from
                                                                                                                    SOMs to the MS
                                                                                                                                           1452

                                                                                                                                           1454
                                                              No1
    No
    (resent)
                pomem -412                     410 (resentf ) 438                               (resent)         458
                                                                                             436
                                New
                                                                                                                                         www 456
                                                                             Deactivation                                 Modified
                                ACK ?                                              OK ?                                   CD ACK ?


                              Yes             414                             Yes for women 440                           Yesh - 460
                                                         Co hasbeen successfully updated at the MS DB
                                                                YM       .




                                                                             416
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                                                  FIG - 5
                                                 MS switch on              500


                                        * MS observ, CH & proc.SIG                510
                         No los monor 514                                 - 512
                                               Receiving defining
                                                      SIG ?

                                                    Yes             516
                                             Search WD reliable info              518
                   No farmers522

                                                  weReceiving               - 520
                                                    distinctive
                                                   defining SIG ?

                                                     Yes            524
                                   th
                                        Kre )send presence UPD SIG            L O


                   532        No
                                                ACK from SOM ?                     530
                                            5531 wwoth     Yes
                                               UPD parameters
                                               DB IN SOMs                         534
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                                                                                                       PPP
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                                                                                                       RRR
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                  009
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                                     219
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                                      019
                                      779
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                                      029
                                       819
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                 FIG
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                                               FIG _]            700
                                 702             706
                                                 706              708

                                            712706 714/706712/708 714708
                             MS (i- 1)
                             MS(i)                  AAA                ???
                   704-
                   705       MS (i + 1)
                                                                       017
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                                                        US 10 ,009 ,720 B2
    METHOD AND SYSTEM FOR MONITORING                                      possibly used notably for defining the price/service con
          A MOBILE STATION PRESENCE IN A                                 nected to telephone calls . In this last, technical solution , the
                        SPECIAL AREA                                     guideunit has to know the identity of the mobile station and
                                                                         this last solution is thought to be used for a home special
            CROSS -REFERENCE TO RELATED                                5 area .
                        APPLICATIONS                                       However, this last technical solution does not allow the
                                                                         mobile network , to add for a mobile station one or more
   This application is a continuation of U .S . application Ser.         special areas wherein the presence of a mobile station is
 No. 14 / 561, 426 , filed Dec . 5 , 2014 ; which is a continuation      monitored without having to at least modify one or more
 of U . S . application Ser. No . 14 /315,703, filed Jun . 26 , 2014 10 guide units broadcasting in such areas. It lacks therefore of
 and issued as U . S . Pat. No. 8, 934 ,922 on Jan . 13, 2015 ; flexibility .
 which is a continuation of U . S . application Ser. No . 14 / 250 ,
 517 , filed Apr. 11, 2014 and issued as U . S . Pat. No . 9 ,042,                DISCLOSURE OF THE INVENTION
 910 on May 26 , 2015 ; which is a continuation of U . S . patent
 application Ser. No. 12 /294,641 , filed Apr. 12 , 2010 and 15             An object of the invention is therefore to provide a
 issued as U .S . Pat . No . 8 ,738 ,040 on May 27 , 2014 ; which        method for monitoring the presence of a mobile station in at
 claims priority to International Application No . PCT/                  least one special area , said method providing the flexibility
 EP2007 /052939, filed Mar. 27 , 2007 ; which claims benefit             to the mobile telephone network of associating new special
 of the European Patent Application No . 06111804. 8 filed                areas for this mobile station in a secure way withoutmodi
 Mar. 28 , 2006 , the entire contents of all of which are hereby 20 fying any radio transmitting device .
 incorporated by reference in their entireties.              This object is achieved in accordance with claim 1 by
                                                          providing a method for monitoring the presence of a mobile
                   BACKGROUND ART                         station in at least one special area associated to the mobile
                                                          station , the method comprising the following steps :
    This invention relates to a method for monitoring a 25 a . at least one radio communication defining device
 mobile station presence in a special area . This invention                    transmits repeatedly in at least a channel one radio
 relates also to a mobile system , a server, a radio transmitting              distinctive defining signal that defines the special area
 device, and a mobile station suitable for carrying out such a                by its coverage
 method .                                                                   b . the mobile station observes the channel and process any
   Development of short range wireless communication 30                        signal received in order to determine whether or not it
 solutions based on the use of Bluetooth , DECT and WIFI                       is receiving any defining signal,
 within a small area such as homes is strong competition for                c. the mobile station processes any defining signal
 mobile operators owning wide mobile networks. A mobile                        received in order to determine whether or not the
 telephone network ( called also mobile network ) includes a                   defining signal received is a distinctive defining signal
 large number of base stations and all the data processing 35                  that defines the special area ,
 means required to provide the telecommunication service to                 d . the mobile station sends an updating signal to a mobile
 each mobile station serviced by said mobile network ,                          telephone network about its presence in the special
    These short range wireless communication solutions can                     area ,
 provide direct connection to fixed networks whose operators                e . the mobile telephone network routes the updating
 offer cheaper rates than those offered by mobile networks. It 40             signal to special operating means that adapt the value of
 can therefore be of interest for mobile network operators to                 at least one operating parameter depending on the
 offer different rates depending on the instantaneous location                presence of the mobile station in the special area , the
 of a mobile station connected to its mobile network , in                     said method is characterized in that the special area is
 particular in areas ; called special areas, where it could face               associated to the mobile station by transmitting to the
 strong competition from some short range wireless commu - 45                 mobile station a checking data , this checking data being
 nication solutions.                                                          used by the mobile station for determining whether or
    The published patent application No. US20020094801                        not the defining signal received is a distinctive defining
 describes a technical solution : a fixed station sends an                     signal that defines, alone or with other distinctive
 encoded first signal and the coverage of said first signal                    defining signals, the special area associated to the
 defines a special area . The fixed station and a mobile station 50           mobile station and the same checking data being sent to
 using the special area are linked one another via the signal                  any mobile station whose presence in this special area
 code . But this document does not disclose anything about                     is monitored .
 the content of said coded signal. In order to realize protec               Advantageously from the operator 's point of view , the
 tion against the abuse of the system , in an embodiment, this           invention brings the flexibility needed to activate a special
 document proposes to provide the fixed station with receiv - 55 way of operating a mobile station in a special area by
 ing and comparison means for an access code that is to be transmitting a checking data that will be stored in a mobile
 applied to the fixed station via the mobile station in order to          station database without having to modify, by way of
 put the fixed station into operation .                          introducing any new data (notably the identity code of said
    The international application WO 00 /27152 offers another mobile station ), at least one radio communication defining
 solution for locating a mobile station based on the use of a 60 device like in the aforementioned international patent appli
 guide unit that broadcasts a short range radio signal which             cation WO 00 /27152 . Therefore , a radio communication
 defines a home area . This document discloses that the short             defining device is not required to store all themobile stations
 range radio signal contains the identity code of said mobile             identity codes using the special area defined by at least the
 station that has to identify its own identity code in order to  coverage of its defining signal(s ) .
 notice to a mobile switching centre that it is located in its 65 According to the present invention , a special area asso
 home area . This mobile station transmits then a home ciated to a mobile station can be defined by one or more
 message to the mobile network , this home message being                  defining signals . Therefore the checking data may preferably
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                                                     US 10 ,009 ,720 B2
 contain information included in every defining signals defin           In another particular embodiment, at least one radio
 ing completely a special area ( each one defines it partially        communication defining device is a base station whose radio
 and the mobile station try to find any of this information in distinctive defining signal that defines the special area is a
 any defining signal received with comparison means. The       distinctive base station identity signal comprising an iden
 mobile station may receive defining signals that do not 5 tification code of the base station , the checking data asso
 define any special area for it. In the case where the special ciated to this base station includes this base station identi
 area is defined by two or more defining signals, this special fication code. The mobile telephone network operator
 area may be the intersection of all or part of them or the controls and knows the location of all the base stations
 global coverage of the defining signals.                      broadcasting identification codes contained into the mobile
    In addition , a method according to the invention is spe - station database and therefore advantageously controls the
 cially suitable to be used in environments like for example location of the special area.
 airports, company ' s premises or business centres where the            In an embodiment of this invention , the special operating
 number of different mobile stations to be serviced by the            means store a parameters database linking the special area to
 mobile telephone network would be high . With the solution 16 the mobile station and to a set of at least the operating
 of the aforementioned international patent application WO            parameter ; and the special operating means adapt the value
 00 / 27152 , it would be necessary to store and transmit in and      of at least an operational parameter of this set when they
 from a single radio communication defining device all the receive an updating signal signalling that the mobile station
 mobile station identity codes of the potential mobile stations exits or enters the special area . Thanks to this embodiment
 using a special area defined in such environment, operation 20 of the invention , the processing of these operating param
 which would difficult or even impossible considering that eters is centralized in the special operating means and it is
 the radio spectrum is a limited resource . Therefore , the not done in each base station . In case themobile station will
 application WO 00 / 27152 has a narrower geographical be switch off, the mobile network operator will decide
 scope of usability . It is also not required , thanks to the whether or not the values of the operating parameters
 invention , to send any activation code to activate a radio 25 associated to the presence of the mobile station into special
 communication defining device and it is not required to store operating areas remain unchanged or are disabled into the
 all the mobile stations activation codes in the radio com database containing the set of operating parameters as
 munication defining device , as in one embodiment of the
 published patent application n2US20020094801 . Therefore, consequence             of the switching off process.
                                                                      In a particular embodiment, the operating parameter is a
 it is easier with this present invention to realize protection 30 tariff
                                                                   tar or a service flag that enables or disables a special tariff
 against abuse of the system .                                     or a service for the mobile station . Advantageously , the
     The special operating means may be at least partly
  included in the data processing means of the mobile tele         operator's services offer can therefore being dependent on
 phone network . All of them or part of them may be own or         the  location of the mobile station .
  operate by an external provider of the mobile telephone 35 a requestIn  a particular embodiment, the updating signal includes
 network .                                                                     to access to a service or to a multimedia content
    In a particular embodiment, the special area is deactivated       and the mobile telephone network routes this request to a
 for the mobile station by the mobile telephone network               part of the special operating means that allow or forbid the
 sending a deactivation signal to the mobile station to stop the      provision of this service or multimedia contentdepending on
 mobile station from recognizing a defining signal that 40 whether or not the mobile station is into the special area .
 defines that special area as a distinctive one.               This part of the special operating means may be operated by
    In a particular embodiment, the special operating means the mobile telephone network operator or by a different
 acknowledge the reception of the updating signal and trans - provider.
 mit an acknowledgement signal to the mobile station . In this   In a particular embodiment, the transmission of the check
 embodiment, themobile station knows advantageously if the 45 ing data to the mobile station is done via the mobile
 mobile telephone network received the updating signal or telephone network or via a signal of at least one radio device
 not.                                                         or via a person introducing the checking data in the mobile
    In a particular embodiment, at least one radio communi - station .
 cation defining device is a wireless device whose radio         According to the present invention , there is further pro
 defining signal that defines the special area is distinctive 50 vided a mobile system for monitoring the presence of a
 wireless signal transmitted by the wireless device in a              mobile station in a special area defined for this mobile
 frequency range outside the frequency range allocated for             station , said system comprising:
 the mobile telephone network . Preferably, the said distinc -          checking means for detecting the presence of the mobile
 tive wireless signal contains wireless device identification              station in the special area associated to this mobile
 data and reliable information confirming that the wireless 55             station , said checking means including
 device is effectively located into a predetermined environ              At least one radio communication defining device trans
 ment. The operator of the mobile telephone network advan                  mitting repeatedly in at least a channel a radio distinc
 tageously avoids fraud linked to a possible shifting of the               tive defining signal that defines the special area,
 wireless device . The checking data associated to this wire            in the mobile station , observing means for observing the
 less device includes this wireless device identification data . 60        channel and processing means for processing any sig
    In another particular embodiment, at least one radio                   nal received in the channel in order to determine
 communication defining device is a base station whose radio               whether or not the signal received is a defining signal
 distinctive defining signal that defines the special area is a            and, if the signal received is a defining signal, whether
 distinctive signal comprising a special mobile telephone                  or not the signal received is a distinctive defining signal
 network identification code, the checking data associated to 65           that defines the special area ,
 this base station includes this special mobile telephone               transmission means for sending an updating signal regard
 network identification code .                                             ing the presence of the mobile station in the special area
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                                                    US 10 ,009,720 B2
      from the processing means to special operating means                           DETAILED DESCRIPTION
     included at least partly in data processing means of the
     mobile telephone network ,                                   A mobile station serviced by the mobile telephone net
   the special operating means for adapting the value of at    work . The mobile telephone network may be cellular or not.
      least one operating parameter depending on the pres - 5 In this description and in the claims, it is supposed , in the
      ence of the mobile station in the special area, charac - case that themobile telephone network is cellular, that each
      terized in that the said mobile system comprises storing base station of the cellular mobile telephone network is
     means for storing a                                              associated to a unique cell . Therefore , somebase stations of
                                                                      the cellular mobile network can be located in the same
 checking data in the mobile station , the processing means 10 location and share technical means. For example, a tower
 include means for using this checking data for determining
 whether or not the defining signal received is a distinctive may
                                                                of  a
                                                                       incorporate three sets of antennas, each set being part
                                                                      different base station of the samemobile network .
 defining signal that defines , alone or with other distinctive    FIG . 1, FIG . 2 and FIG . 3 are three schematic figures
 defining signals , the special area and the same checking data  describing three particular embodiments ofmobile systems
 is sent to any mobile station whose presence in this special 15 according to the invention .
 area is monitored .                                               FIG . 1 is a schematic diagram illustrating an embodiment
    In a particular embodiment of the invention , the mobile of the invention wherein :
 system comprises special area location monitoring means                 any base station 107 or 105 of a mobile telephone network
 for monitoring the correct location of at least a part of the             of an operator is a radio communication defining device
 special area. It is then harder to fraud by moving the radio 20           transmitting a radio defining signal in a channel used by
 communication defining device . In a particular embodiment               the mobile telephone network ,
 of the invention , the mobile system carries out a method              the distinctive radio defining signal that defines the spe
 according to the present invention .                                      cial area is a distinctive signal transmitted by some
    This invention also concerns a server. According to the                selected base stations 105 , said distinctive signal com
 invention , this server is characterized in that it contains at 25        prising a specialmobile telephone network identifica
 least some of the special operating means included in the                 tion code. The sum of the coverage of these selected
 mobile system according to the present invention . This                  base stations 105 defines a special area ( the shaded area
 server may contain the whole or part of the special operating             of FIG . 1) .
 means . In this last case , the special operating means may be         the checking data includes this special mobile telephone
 spread in several servers or computers .                                  network identification code .
   According to the present invention , there is further pro -          More precisely , FIG . 1 shows a geographical area 102
 vided a radio communication defining device , characterized          covered by the mobile telephone network . The radio cover
  in that it carries out a method according to the present age of the mobile telephone network in this geographical
  invention . In a particular embodiment, the said radio com - area 102 is the addition of the radio coverage 104 and 106
 munication defining device of the invention is a wireless 35 of several base stations 105 and 107. The mobile telephone
 device and it containsmeans for transmitting the distinctive network includes data - processing means that comprise a
 wireless signal that defines the special area and means for          server according to the invention including special operating
 obtaining reliable information indicating whether or not the         means according to the invention .
 said wireless device is located into a predetermined envi               Each base station is transmitting network data , including
 ronment.                                                          40 a mobile telephone network identification code, which
    This invention also concerns a mobile station , character -       allows a mobile station 100 in the geographical area 102 to
 ized in that this mobile station is suitable to carry out a          select the appropriate mobile telephone network .
 method according to the present invention . This mobile                 The operator of the mobile telephone network defines one
 station may be a mobile telephone or a Personal Digital special mobile telephone network identification code, called
 Assistant for example .                                45 IC2, ( in another embodiment, the operator may create more
                                                           than one special mobile telephone network identification
        BRIEF DESCRIPTION OF THE DRAWINGS                  code) different from a normal mobile telephone network
                                                           identification code, called IC1. Then the operator configures
    In the following detailed description of some possible            its mobile telephone network in such a way that some base
 embodiments , other features and advantages of the invention 50 stations 107 (in general the majority of them ) transmit a
 will appear , each description being made with reference to          radio defining signal comprising the normal mobile tele
 the following drawings :                                             phone network identification code and the selected base
   FIG . 1 is a schematic diagram illustrating an embodiment          stations 105 ( in general a minority of them ) transmit a
 of a mobile system according to the invention ;                      distinctive defining signal comprising a special mobile tele
    FIG . 2 is a schematic diagram illustrating another 55 phone network identification code .
 embodiment of a mobile system according to the invention ;              The checking data (i.e . IC2) is stored into an internal
   FIG . 3 is a schematic diagram illustrating another                mobile station database included in mobile station 100
 embodiment of a mobile system according to the invention ;           storing means, this mobile station 100 being associated to
    FIG . 4 is a flow chart illustrating partly an embodiment of
                                                              this special area . The same checking data is sent to any
 a method according to the invention ;                     60 mobile station whose presence in this special area is moni
   FIG . 5 is a flow chart illustrating another part of an    tored .
 embodiment of a method according to the invention ;             The mobile station 100 contains observing means and
    FIG . 6 is a schematic diagram of a part of an operating processing means for determining that the distinctive defin
 parameters database in an embodiment of the invention ;     ing signal transmitted by any base station 105 is received .
    FIG . 7 is a schematic diagram of a part of another 65 These processing means include means for using the check
 operating parameters database in an embodiment of the ing data that include, in this embodiment, comparing means :
 invention .                                                 Thanks to these comparing means , the mobile telephone
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 network identification codes received by the mobile station                  The distinctive wireless signals are preferably coded and
 are compared to IC2 stored into the internal mobile station               the mobile station 15 processing means include decoding
 database: If the mobile station is in a position like the                 means to decode the wireless signals received .
 position (a ) in FIG . 1 , i.e. inside the special area , the mobile        The mobile system comprises special area location moni
 telephone network identification code received is equal to 5 toring means for monitoring the correct location of any
 IC2 and therefore the mobile station 100 determines that it wireless device that may transmit a distinctive wireless
 is into the special area . Otherwise , if the mobile station 100    signal into this predetermined environment and therefore for
 is in position like the position (b ) in FIG . 1, i.e. outside the monitoring
                                                                       In  a
                                                                                  at least a part of the special area .
                                                                             particular  embodiment of the special area location
 special area , the mobile station 100 receives a defining
 signal containing 101 different from IC2 and determines that 10 monitoring
                                                                     the
                                                                                 means, the reliable information comprised into
                                                                          wireless  signal confirms that the wireless device is
  it is not receiving any distinctive defining signal and there      effectively located into a predetermined geographical envi
 fore that it is not into the special area .                         ronment defined by the operator of the mobile telephone
      For example , if the mobile station 100 is a GSM mobile network when :
  station operating into a GSM mopije
                                 mobile telephone
                                         telephone network
                                                    network ,, the
                                                               the 15 the wireless device able to receive a RBU signal from at
 mobile station 100 has the capability to store the received least one radio broadcasting unit (RBU )
 mobile telephone networks identification codes into a                       RBU identification data is comprised into the RBU signal.
 mobile station 100 memory . In that case , the mobile station               the wireless device receives , through the RBU signal from
 100 may access to such internal memory to get data to                     the RBU , the RBU identification data that are included into
 determine , together with the checking data (i.e . IC2), 20 a RBU identification database of the wireless device .
 whether or not it is receiving any distinctive defining signal.              The storage of the RBU identification data into the
    With the exception of the processes concerning the inven -             wireless device RBU identification data database may be
 tion , a specialmobile telephone network identification code              done at the Wireless device configuration stage . In the
 ( IC2 ) is equivalent, from the perspective of both the mobile            particular example of FIG . 2 and the wireless device 212 , the
 station and the mobile telephone network , to a normal 25 RBU is a base station 205 of the mobile telephone network ,
 mobile telephone network identification code ( IC1). In this the RBU identification data is a base station identification
 context, processes such as network selection , selection                  code. The wireless device 212 is authenticated into the
 reselection of base stations and handover will not be influ -            mobile telephone network comprising the base station 205
 enced because some base stations transmit IC1 and some                   and may receive the base station signal 220 when it is
 other transmit IC2, such lack of influence meaning that all 30 located within the range of coverage 204 of the base station
 the mobile station and the mobile telephone network pro -                 205 .
 cesses ( except the processes concerning the invention ) will               In a second example of embodiment of the special area
 be handle as if IC1 and IC2 would be the same code.                       location monitoring means, the reliable information com
    For example , a mobile telephone network operator can                  prised into the wireless signal confirms that the wireless
 use this embodiment of the invention to offer one set of 35 device is effectively located into a predetermined geographi
 normal billing rates in an urban environment of a country,                cal environment defined by the operator of the mobile
 and another set of special billing rates for a rural environ -            telephone network when it is physically connected to any
 ment. Another example of the application of this embodi-        fixed network connection points defined by the operator of
 ment of the invention is for a mobile telephone network         the mobile telephone network for the special area and it is
 operator to offer normal billing rates for the whole country 40 also authenticated into the said fixed network through any of
 except in industrial areas or business districts.                         the mentioned fixed network connection points . In this
    FIG . 2 is a schematic diagram illustrating an example of              embodiment, the wireless device also comprises means for
 another embodiment of a mobile system according to the                    communicating with the fixed network . In a particular
 invention wherein the radio communication defining device                 example of this embodiment, some parameters are stored
 is a wireless device ( 212 or 212b ), e . g . a WIFI, Bluetooth or 45 into the wireless device during its configuration stage and
 DECT device , the radio distinctive defining signal that such parameters are used by the wireless device to perform
 defines the special area is a distinctive wireless signal 214 or      the said authentication process into the fixed network .
 214b (e. g . a WIFI, Bluetooth or DECT signal) transmitted                   These connection points may be PSTN (“Public Switch
 by the wireless device (212 or 212b ) in a frequency range                ing Telephony Network ') connectors for ADSL network
 outside the frequency range allocated for the mobile tele - 50 services or electrical sockets for PLC (“ Power Line Com
 phone network . A mobile station 200 whose presence in the                munication ') home network services for example : In the
 special area is monitored includes observing means and                    particular example of FIG . 2 and the wireless device 212b ,
 processing means for determining whether or not any defin -               the wireless device 212b has to be connected to a connection
 ing signal is received inthe frequency range used by the                  point 230 of a fixed network and authenticated in this fixed
 wireless device .                                                      55 network so that the reliable information comprised into the
    Each distinctive wireless signal contains wireless device              wireless signal 214b confirms that the wireless device is
 identification data and reliable information confirming that              effectively located into a predetermined geographical envi
 its transmitting wireless device (212 or 212b in FIG . 2 ) is             ronment.
 effectively located into a predetermined environment. The                   In the third example of an embodiment of the special area
 checking data comprises a set of at least one wireless device 60 location monitoring means (not illustrated in FIG . 2 ), the
 identification data.                                             reliable information comprised into the wireless signal con
    The predetermined environment may be one or more                       firms that the wireless device is effectively located into a
 specific geographical locations ( for example several fixed               predetermined physical environment defined by the operator
 points into a restaurant) or a physical environment that can              of the mobile telephone network when :
 be mobile (for example a car , a plane or a boat ). The 65 the wireless device is physically connected to a system
 predetermined environment is defined by the operator of the registered and authorised by the mobile telephone network
 mobile telephone network .                                                operator for the purposes of the invention and
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    the wireless device is authenticated into the mentioned           As an example , a mobile telephone network operator can
 system .                                                          use this embodiment of the invention to offer one set of
    In a particular example of this embodiment some param           special billing rates in premises associated to the user of the
 eters are stored into the wireless device during its configu -    mobile station 200 as may be houses, cars or boats, and
 ration stage and such parameters are used by the wireless 5 another set of normal billing rates for the rest of the
 device to perform the referred authentication process into        environments where the user may use the mobile station
 the system . This system may be, in an example, embedded          200 . Another example of the application of this embodiment
 in a mobile device such as a car or a boat.                       of the invention is for a mobile telephone network operator
    More precisely, FIG . 2 shows a geographical area 202          to offer normalbilling rates for the whole country except in
 covered by a mobile telephone network of an operator , the 10 industrial areas, airports or restaurants .
 radio coverage of the mobile telephone network in this               FIG . 3 is a schematic diagram illustrating an example of
 geographical area 202 being the addition of the radio cov -       another embodiment of a mobile system according to the
 erage of several base stations 205 and 207 . The mobile           invention wherein the radio communication defining device
 telephone network includes a server according to the inven -      is a base station , the radio defining signal that defines the
 tion comprising special operating means. In this embodi- 15 special area is a distinctive base station identity signal
 ment, a wireless device 212 is located in a geographical          comprising an identification code that identifies this base
 environment agreed between the operator and the user, such        station , the checking data includes a set of at least one base
 as for example near to the user ' s house or near his /her work   station identification code .
 place . The wireless device 212b is located either into a            FIG . 3 shows a geographical area 302 covered by a
 geographical environment, such as for example the user 's 20 mobile telephone network of an operator, the radio coverage
 home, or into a physical environment, which may be mobile , of the mobile telephone network in this geographical area
 such as for example the user 's car, such environments being 302 being the addition of the radio coverage 304 and 306 of
 agreed between the operator and the user.                    several base stations 305 and 307. The mobile telephone
    The checking data associated to a special area is stored       network includes a server according to the invention com
 into an internal mobile station database included in a 25 prising special operating means.
 memory ( storing means) of a mobile station 200 associated           Anymobile station 300 whose presence in the special area
 to this special area .                                             is monitored includes observing means and processing
    Processing means comprised in the mobile station 200           means for observing and processing the base station identity
 compare any wireless device identification data received           signal of themobile telephone network base stations 305 and
 with the checking data stored in its internal mobile station 30 307 .
 database and determines that a wireless signal received is         The checking data is stored into an internalmobile station
 adistinctive wireless signal when :                             database included in a memory ( storing means ) of a mobile
    such wireless signal is coded in a format predefined for a station 300 associated to this special area .
 distinctive wireless signal and                                   Processing means of the mobile station 300 process the
    the wireless device identification data comprised into the 35 base stations identity signals received and compare their
 wireless signal is equal to at least one of the wireless device   base station identification codes to the checking data and
 identification data stored into the internal mobile station       determine that at least one distinctive base station identifi
 database and                                                      cation code signal is received ( i. e. the mobile station 300 is
   the reliable information comprised into the wireless signal     in position (a )) when any of the base station identification
 confirms that the wireless device is effectively located into 40 codes received is equal to at least one of the base 17 station
 a predetermined environment.                                      identification codes stored into the internal mobile station
   Otherwise the mobile station 200 determines that the            database and otherwise determine that it is not receiving any
 wireless signal received is not a distinctive wireless signal.    distinctive base station identification code signal ( i.e . the
    In the embodiment illustrated by the FIG . 2 , the sum of mobile station 300 is in position (b )) .
 the coverage ( 203 , 203b ) of the wireless devices 212 and 45 For example , when a GSM mobile station is operating
 212b transmitting distinctive wireless signals 214 and 214b       into a GSM mobile telephone network , the GSM mobile
 defines a special area for the mobile station 200 according to    station 300 receives the identification code of the active base
 the invention .                                                   station and also the identification codes of some available
    Transmission means for sending an updating signal              neighbours base stations . The GSM mobile station 300 may
 regarding the presence of the mobile station 200 in the 50 consequently process the base station identification codes
 special area ( 203 , 203b ) from the processing means to the      received to determine , together with the checking data ,
 special operating means are partly comprised in the mobile        whether or not it is receiving any distinctive base station
 station 200 and in the mobile telephone network . The             identification code signal.
 updating signal may comprise the result of the last deter -          The sum of the coverages 304 of the base stations 305
 mination performed by the mobile station about its presence 55 transmitting distinctive base station identification code sig
 into the special area . In another embodiment, the reliable       nals defines a special area for the mobile station 300
 information related to whether or not the wireless device 212     according to the invention .
 or 212b is or not effectively located into its predetermined         In this embodiment, an operator of a mobile telephone
 environment is also included into the updating signal.      network covering a geographical area 302 may offer special
    In this embodiment, an operator of a mobile telephone 60 services to the user of a mobile station 300 if he uses his/her
 network covering a geographical area 202 may offer cheaper        mobile station 300 within the range of coverage of the base
 rates , called special billing rates , to the user of a mobile    stations 305 .
 station 200 if he uses his /her mobile station 200 within the        As an example a mobile telephone network operator can
 range of coverage 203 of the wireless device 212 (position        use this embodiment of the invention to offer one set of
 (a ) of themobile station 200 ) or within the range of coverage 65 normal billing rates in an urban environment of a country ,
 203b of the wireless device 212b (position (b ) of themobile      and another set of special billing rates for a rural environ
 station 200 ).                                                    ment. Another example of the application of this embodi
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                                                                                                         12
 ment of the invention is for a mobile telephone network                    The part 400 of this embodiment starts in step 402 when
 operator to offer normal billing rates for the whole country            the operator wishes to monitor the presence of a mobile
 except in industrial areas or small towns.                              station in a special area .
   Any combination of the embodiments of a mobile system                   In step 404 , the operator defines a new special area if the
 according to the invention described herein is another 5 operator wishes to create a new one . The special areas may
 embodiment here below of a mobile system according to the               be agreed between the operator and the user or simply
 invention . That combination can be the result from ‘N ’                defined by the operator.
 different distinctive defining signals, each one comprising a              The definition of the special area can be done by the
 different special mobile telephone network identification               coverage of one or several radio defining signals or by the
 code or a different wireless device identification data or a 10 intersection of the coverage of two or more radio defining
 different base station identification code .                         signals .
    For example, the mobile telephone network operator can               In step 406 , the operator updates a parameters database
 then propose ‘ N ’ different sets of rates for ‘ N ’ different kinds included in the special operating means . The parameters
 of special areas for a given mobile station . In an example , an database associates each special area defined with the
 operator installs in the user' s house a wireless device whose 15 mobile stations whose presence in such special area is
 position is controlled by being or not in the range of                 monitored . For the purposes of such association , each
 coverage of a particular base station of the mobile network ,          mobile station is identified into the parameters database by
 another wireless device whose -. position is controlled by its         means of a mobile station identifier. In the parameters
 connection to a fix network in the user ' s holiday cottage and         database , each mobile station identifier is associated with
 a third wireless device whose position is controlled by its 20 special tariffs and/or services which may be or not available
 connection to a system embedded in the user 's car. The                 for the mobile station depending on the presence of such
 operator creates a special mobile telephone network identi              mobile station into a given special area (and also depending
  fication code transmitted by the all the base stations of the          on whether such tariffs and/or services are enabled or
 user ' s city . Then the operator stores in the storing means of disabled into the parameters database for such mobile sta
 the user 's mobile station the three wireless devices identi- 25 tion ).
 fication data , the user 's city special mobile telephone net-        The operating parameter( s ) that may be adapted depend
 work identification code and several sets of base stations         ing on the presence of the mobile station in one or more
 identification codes , each set being the setof identification of  special areas at the same time may be notably related to
 base stations covering public places like airports and train       activation or deactivation flags of tariffs and/ or services
 stations. Then , the operator can adapt the tariffs charged and 30 provided to the mobile station by the mobile telephone
 the services provided to the user depending notably whether             network . Therefore , tariffs may be more or less expensive
 his /her mobile station is in its city or outside , in its house ,      for the said mobile station in predetermined special areas
 holiday cottage or car and /or in public places .                       and / or the mobile station may be able or unable to use
    An embodiment of a method for monitoring the presence                predetermined services offered by the operator of the mobile
 of a mobile station in at least one special area according to 35 telephone network in predetermined special areas .
 the invention may include at least three parts :                          In step 408 , the special operating means send a checking
    a first part, illustrated in FIG . 4 , that includes the steps       data to the mobile 15 station .
 needed to successfully transmit, store , erase and maintain                The checking data transmission can notably be done:
 checking data in a mobile station according to the invention ,             1) by sending the checking data stored in a server of the
    a second part, illustrated in FIG . 5 , that includes the steps 40 mobile telephone network to the mobile station through the
 needed for the mobile station to monitor its location in the            mobile telephone network transmission channels . In a par
 special areas using the checking data that were transmitted             ticular example , the mobile telephone network is a GSM
 to it and                                                               network and the checking data from the server will be sent
    a third part, illustrated in FIGS. 6 and 7 , that includes the       to the mobile station via encrypted short messages using an
 adaptation of the operational parameters depending on the 45 'Over the Air ' platform . The mobile station is able to decode
 presence of the mobile station in any special area where this           the short messages and to store the checking data into an
 mobile station is monitoring its presence .                             internal mobile station database ,
    This embodiment of such method according to the inven -                2 ) through the use of a mobile station special software
 tion may be carried out for example using any of the                    able to store into an internal mobile station database check
 embodiments of mobile systems according to the invention 50 ing data obtained by the mobile station from at least one
 described before.                                                       radio communication defining device . In a particular
   FIG . 4 is a flowchart of the first part 400 of a method              example , it may be necessary that an operator' s representa
 according to one embodiment of the invention for success -              tive introduces a password to allow the mobile station
 fully transmit, store , erase and maintain checking data in a           special software to operate . The mobile station special
 mobile station according to the invention .                          55 software may ask the operator 's representative to validate
   A mobile telephone network comprises in this embodi-                  the storage of the checking data through the mobile tele
 ment data processing means that includes special operating              phone keyboard ,
 means ; the special operating means are included in a server               3 ) or via a person ( e .g . an operator 's representative ) who
 and therefore are advantageously centralised and not dis -     enters the checking data into the mobile station using the
 tributed between each base station of the mobile telephone 60 mobile station keyboard .
 network .                                                        Regarding the second option, two examples are provided .
    An operator of a mobile telephone network (i.e . the                 In a first example , the mobile station is operating in a GSM
 company that operates this mobile telephone network ) network , the mobile station obtains from the active cell its
 wishes to propose special billing rates and /or special ser -  cell identification code and from other neighbouring cells , if
 vices to users of its mobile telephone network , each user 65 available , their cell identification codes. When the special
 carrying a mobile station , when said users are within special software is run for example in the user 's home, it is able to
 areas of the invention .                                       obtain such cells identification codes and store them in the
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 internalmobile station database of checking data, associat               Once the deactivation signal has been successfully
 ing them with the user 's home special area .                         received and processed by the mobile station , a confirmation
    In a second example , the mobile station can obtain , by           of deactivation is sent to the parameters database. In step
 using a WIFI device embedded into the mobile station .                436 , the special operating means wait for the confirmation of
 neighbouring WIFI devices identification data. When the 5 deactivation from the mobile station . Once the confirmation
 special software is run for example in the user ' s home, it is of deactivation is received by the special operating means
 able to obtain such WIFI device identification data and store   (possibility 440 ), this fact is stored into the parameters
                                                                  database and the special operating means transmit an
 them in the internal mobile station database of checking acknowledgment           to the mobile station . In case the mobile
 data, associating them with the user 's home special area .to 10 station does notreceive
   Once the checking data has been successfully stored into time, the mobile station the      acknowledgment after a certain
                                                                                          sends the confirmation of deactiva
 the internalmobile station database , a confirmation of new           tion again until it receives the acknowledgment or, in
 checking data is sent to the parameters database . In addition ,      another embodiment, until it resents the confirmation of
 notably regarding to the second and third options to transmit
 checking data to themobile station , the stored checking data 15 deactivation  up to a maximum number of times.
                                                                     If the confirmation  of deactivation is not received (pos
 may be sent by themobile station to the parameters database           sibility 438 ) by the special operating means the special
 through the mobile telephone network for the mobile tele -            operating means transmit again a deactivation signal to the
 phone network to know this checking data .                            mobile station ( step 434 ).
    In step 410 , the special operating means wait for the               When the confirmation from the mobile station regarding
 confirmation of new checking data from the mobile station . 20 the successful reception and process of the deactivation
 Once the information is received , it is stored into the signal is received (possibility 440 ) by the operating means,
 parameters database and the special operating means trans-             the operatingmeans know in step 416 that the mobile station
 mit an acknowledgment to the mobile station . In case the              updated its internal checking data database and the internal
 mobile station does not receive the acknowledgment after a            mobile station database is in accordance with the operator
 certain time, the mobile station sends the confirmation of 25 wishes .
 new checking data again until it receives the acknowledg                 In another hand , in this embodiment of a method accord
 ment or until it resents the information up to a maximum              ing to the invention , the operator can modify a special area
 number of times .
 nu                                                                     following the steps 450 to 460 to adapt the
    It is advantagenous to store the checking data into the            internal mobile station database to the operator 's wishes . In
 mobile station , mainly in comparison to the prior art where 30 step 450 , the operator chooses to modify a special area for
 it was necessary to store mobile station identity codes and /or       a given mobile station , with or without the agreement of the
 activation signals into a fix unit.                                   mobile station user, and defines such modified special area .
    If the confirmation of new checking data is not received           For example , this can be done by including in the checking
 (possibility 412 ) by the special operating means, the special        data associated to one special area , someadditional checking
 operating means transmit again the checking data to the 35 data for the special area being not only the coverage of one
 mobile station (step 408 ).                                           distinctive defining signal but the intersection (or the sum )
    When the confirmation of new checking data from the                of the coverage of the former one and the coverage of a new
 mobile station is received (possibility 414 ) by the special          one . This can be done too by erasing in a set of checking data
 operating means, the special operating means know in step             associated to one special area , some checking data in order
 416 that the mobile station updated its internal mobile 40 to , for example, transform a special area defined as the
 station database and the internal mobile station database is          intersection ( or the sum ) of the coverage of two distinctive
 in accordance with the operator wishes .                              defining signals into a special area defined as the coverage
    After the first special area checking data or set of checking      of one only distinctive defining signal.
 data is stored in the internal mobile station database, the             In case the operator wishes to add a new checking data
 operator can add more in the same way .                            45 (the steps for erasing one can be easily inferred by analogy ) ,
   In another hand, in this embodiment of a method accord -            in step 452 , the operator updates the parameters database in
 ing to the invention , the operator can deactivate a special          order to include, if known, the new checking data associated
 area following the steps 430 to 440 .                           to the mobile station and the modified special area.
    In step 430 , the operator chooses to deactivate a special      In step 454 , the special operating means send, by using
 area for a mobile station , with or without the agreement of 50 any of the three options for transmitting checking data
 the mobile station user. In step 432 , the operator deactivates       described in step 408 , the new checking data to the mobile
 into the parameters database all the special tariffs and/ or          station using the mobile telephone network .
 services associated to the presence of the mobile station into          Once the new checking data has been successfully stored
 the special area. In step 434 , the special operating means into the part of the internal mobile station database that
 transmit a deactivation signal to the mobile station (using the 55 contains the checking data linked to the special area that has
 mobile telephone network ) asking the mobile station to            to be modified , a confirmation of modification of checking
 erase , into itsinternal mobile station database , the checking       data is sent to the parameters database . In addition , typically
 data associated with the special area that the operator wishes regarding to the second and third options to transmit check
 to deactivate .                                                ing data to the mobile station described in step 408 , the
    In another embodiment, the deactivation signal just 60 stored new checking data may be sent by the mobile station
 blocks into the mobile station the use of the special area            to the parameters database through the mobile telephone
 checking data but does not erase it . The result is the same:         network . In step 456 , the special operating means wait for
 the deactivation signal avoids the mobile station recognising    the confirmation ofmodification of checking data from the
 the special area ( s ) associated with this deactivation signal. mobile station . Once the confirmation of modification is
    The transmission of the deactivation signal may be done 65 received , this fact is stored into the parameters database and
 notably as in the first and third options for transmitting the        the special operating means transmit an acknowledgment to
 checking data (as seen in description of step 408 ).                  the mobile station . In case the mobile station does not
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 receive the acknowledgment after a certain time, the mobile               to recognize at least one of the three distinctive defining
 station sends the information again until it receives the                 signals at one time in order to determine that it is into this
 acknowledgment or, in another embodiment, until it resents                special area .
 the information up to a maximum number of times .                  In another example , the mobile station knows that it is
    If the confirmation ofmodification of checking data is not 5 into a special area defined as the intersection of the coverage
 received (possibility 458 ) by the special operating means , of several distinctive defining signals when it is observing
 the special operating means send again the new checking and recognizing at one time all these distinctive defining
 data to the mobile station ( step 454 ).                        signals.
    When the confirmation of modification sent from the             The mobile station may beprepared to display a text or an
 mobile station is received by the special operating means icon ( e. g . ' home' or airport' icon ) when the mobile station
 (possibility 460), the special operating means know that in               determines that it is included in a particular special area for
 step 416 , the mobile station updated its internal checking               this mobile station .
 data database and the internal mobile station database is in       In step 526 , the mobile station sends and updating signal
 accordance with the operator wishes .                        15 to the mobile telephone network about its presence in the
    The second part of this embodiment of a method accord -     special area .
 ing to the invention is illustrated in FIG . 5 and includes the   In particular embodiment, the mobile station sends peri
 steps needed for the mobile station to monitor its location in odically ( for example every 30 seconds) an updating signal
 the special areas using the checking data that were trans -    about its presence into a special area , such updating signal
 mitted into it.                                             20 comprising the result of the last determination performed by
    In step 500 , a mobile station is switched on . In an       the mobile station about its presence into the special area .
 embodiment, the mobile telephone network sets the values          In another particular embodiment the mobile station only
 of the operating parameters managed in the parameters                     sends to the mobile telephone network an updating signal
 database to a set of initial values when the mobile station is            about its presence into a special area when
 switched off ( as at that time it is not present in any special 25 it enters into or exit from such special area .
 area ) in order to start operating the mobile station when it is      For a special area defined by the sum of the coverage of
 just switched on . In step 510 , the mobile station observes,             several distinctive defining signals :
 through the appropriate channel(s ), any signal received and                if the mobile station processing of the defining signals
 process it to determine whether or not it is receiving any   received in a certain moment determines that at least one
 defining signal from radio communication defining devices 30 distinctive defining signal associated to this special area is
 ( e. g . from the base stations of a mobile telephone network or          received :
 from wireless devices ).                                                    If the previous processing ofthe defining signals received
    In one embodiment, the defining signal is coded (or part                    determined that no distinctive defining signal associ
 of the data contained in such a defining signal). In this                      ated to this special area was received at that time then
 embodiment, the mobile station is able to decode the infor - 35                the mobile station interprets that it has recently entered
 mation as part of the processing of the defining signals                       into this special area .
 received .
 re                                                                          If the next processing of the defining signals received
    A radio defining signal from a radio communication                          determines that at least one distinctive defining signal
 defining device may be transmitted on a continuous or                          associated to this special area is still being received
 periodical basis . The mobile station observation as to 40                     then the mobile station interprets that it remains located
 whether or not it is receiving any defining signal can be                      into this special area ;
 continuous or periodical. In step 512 , the mobile station                  If the mobile station processing of the defining signals
 decide if it receives a defining signal ( possibility 516 ) or not             received in a certain moment determines that no dis
 (possibility 514 ) after observing and processing any signal                    tinctive defining signal associated to this special area is
 received                                                     45                 received :
    When one or several defining signals are received , they                  If the previous processing of the defining signals received
 are processed in step 518 by the mobile station notably in                     determined that at least one distinctive defining signal
 order to compare , in this embodiment, the appropriate part                    associated to this special area was received at that time
 of their content with any checking data stored in the internal                 then themobile station interprets that it has recently left
 mobile station database .                                            50        this special area .
   When a defining signal received is from a wireless device                 If the next processing of the defining signals received
 (transmitted in a frequency range outside the frequency                        determines that no distinctive defining signal associ
 range allocated for the mobile telephone network ), the                        ated to this special area is still being received then the
 mobile station preferably also search in step 518 whether or                   mobile station interprets that it remains out of this
 not the defining signal received contains reliable information 55      special area .
 confirming (or not) that the wireless device is effectively         For a special area defined by the intersection of the
 located into a predetermined environment defined by the           coverage of several distinctive defining signals a procedure
 operator of the mobile telephone network .                        equivalent to the one above can be easily inferred by
    Then , in step 520 , depending on the result of the internal analogy .
 process carried out in step 518 , the mobile station decides 60 The updating signal may be sent through a diversity of
 whether (possibility 524 ) or not (possibility 522 ) the defin - channels provided by the mobile telephone network . For
 ing signal received is a distinctive defining signal that example , in a GSM mobile network , the updating signals
 defines a special area for this mobile station , therefore can be sent using the USSD ("Unstructured Supplementary
 validating or not the defining signal received as a distinctive Service Data ',GSM standards) channel. The data comprised
 defining signal.                                                65 into the updating signal will typically be coded by the
    If the special area is defined by the sum of the coverage              mobile station and decoded by the special operating means
 of several distinctive defining signals , themobile station has           of the server.
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   In this embodiment, the updating signals are sent from the       value of at least one operating parameter of a parameters
 mobile station to the special operating means of the mobile        database linking the special area and the mobile station . The
  telephone network requesting an acknowledgement from the          value of the operating parameter (s ) depends on the infor
 special operating means .                                        mation contained into the updating signal about the presence
    In step 530 , the mobile station search for the acknowl- 5 of the mobile station into the special area .
 edgment from the special operating means.                           In a particular example , operating parameters related to a
    If the acknowledgement is not received in the mobile          special tariff and some services are enabled or remains
 station ( possibility 532 ) because the updating signal does not enabled into the referred parameters database when the
 reach the special operating means or the mobile station            information contained into the updating signal indicates that
 detects a failure in the transmission of the updating signal or 10 the mobile station has recently entered or remains located
 there is a failure in the transmission of the acknowledgment,      into the special area . In the same example , the special tariff
 then the mobile station may send the updating signal again         and the services are disabled or remains disabled into the
 up to a predetermined number of times according to a               referred parameters database when the information con
 predefined retransmissions policy .                            tained into the updating signal indicates that the mobile
    When the acknowledgment is received ( possibility 531) 15 station recently left or remains out of the special area .
 into the mobile station , the mobile station knows in step 534   More precisely, FIG . 6 is a schematic illustration of an
 that the special operating means will make the appropriate         example of a part of the parameters database 600 of oper
 adaptations in the operating parameters of the special areas       ating parameters included in the special operating means
 database .                                                     according to an embodiment of the invention . The illustrated
   More generally , the special operating means area waiting 20 part of the special operating means database 600 links two
 for any updating signal from any mobile station whose          special areas SA1 606 and SA2 608 with 3 mobile stations
 identification code is into the parameters database . When the identification codes MS(i - 1 ), MS(i) and MS(1 + 1), each of
 special operating means receive an updating signal from a      which having an entry 603, 604 and 605 .
 mobile station , they then adapt the operational parameters of    The column 602 of the database comprises the mobile
 the special areas database that depend on the presence of this 25 stations identification codes . A mobile station identification
 mobile station m a special area associated with this mobile        code refers to a code that is associated with the subscription
 station and send the acknowledgement.                              of the mobile station user into the mobile telephonenetwork .
    In one embodiment, the updating signal contains a request       As an example , in a GSM network the referred mobile
 to access to services and /or to download contents provided   station identification code may be the MSISDN .
 direct or indirectly by the mobile telephone network of the 30 In this example , the set of checking data of mobile
 operator. Then , an access or downloading right is granted or " station MS(i) for the special area SA1 606 , defined in the
 denied by the mobile telephone network depending on the       column 610 /606 of the entry 604 contains:
 presence of the mobile station in a special area .                a checking data 650 comprised into the distinctive defin
    The acknowledgment signals of the updating signal from             ing signal of a first base station BS1 ( e.g . the identifi
 the special operating means are preferably coded . In that 35         cation code of BS1), such distinctive defining signal
 case, the mobile station processingmeans are able to decode           defines the special area SA1 606 ,
 the acknowledgments of the updating signals.                       a checking data 652 comprised into the distinctive defin
    The operator of the mobile telephone network has there             ing signal of a second base station BS2 (e .g . the
 fore a guarantee that the mobile telephone network will                identification code of BS1), such distinctive defining
 know at least a change on the presence of the mobile station 40        signal also defines the special area SA1 606 , and a
 in one or more special areas even if the radio communication          checking data 654 comprised into the distinctive defin
 link between the mobile station and the mobile telephone              ing signal of a wireless device WD1 (e .g . the identifi
 network is temporarily unavailable .                                   cation data of WD1) , such distinctive defining signal
    In a particular embodiment the mobile telephone network            also defines the special area SA1 606 ,
 may enable or disable to the mobile station to use predeter- 45 for the special area SA1. The mobile station determines that
 mined services depending on the presence of the mobile          it is located into the special area SA1 606 when it receives
 station into a special area .                                   at least one of the three identifiers 650 , 652 , 654 comprised
    As an example , the mobile station may incorporate spe -        into the distinctive defining signals coming from BS1, BS2
 cial checking software able to generate statistics about the       and WD1, i.e . when it is located within the range of coverage
 use of the mobile telephone ( phone calls , messages, etc .) 50 of any of the three distinctive defining signals ( according to
 into special areas. This software may be enabled for opera -       one of the embodiments of the invention , in the case of the
 tion by the mobile telephone network when the mobile               defining signal of WD1, in order to consider that such
 station enters into a predetermined special area and disabled      defining signal is a distinctive defining signal, it will addi
 when the mobile station exits such special area .         tionally be necessary that the reliable information comprised
   As another example, the mobile telephone network may 55 into the defining signal confirms that WD1 is effectively
 broadcast certain messages associated to a special area (e . g .   located into a predetermined environment) .
 airport information ). The mobile station can be enabled by           In this example , the value of column 611 /606 for the
 the mobile telephone network to accept and display those           mobile station MS(i) and for the special area 606 is enabled
 broadcasted messages when it is located within this special        (^ - -') or disabled ( - ) at a given timedepending on whether
 area and disabled when it exits the special area .        60 or not the mobile telephone network receives a confirmation
    The third part of this embodiment of a method according of new checking data (see description of FIG . 4 ) from this
 to the invention is illustrated in FIGS. 6 and 7 and includes
                                                            mobile station confirming that all the checking data corre
 the adaptation of the operational parameters to the presence
                                                            sponding with the special area has been stored into this
 of the mobile station in any special area where this mobilemobile station (based on the same principle , it would also be
 station is monitoring its presence .                    65 possible to add another column in the parameters database to
   When the mobile telephone network receives an updating monitor the reception of confirmations of deactivation of
 signal, the special operating means of the server adjust the       checking data and another one to monitor the reception of
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 confirmations of modification of checking data for a given            operating means included in this other server allows or
 special area 32 : see description of FIG . 4 ).                       forbids the provision of some multimedia contents and
    In this example , the value of column 611 /606 for MS(i) is    applications available to mobile stations (and may prefer
 enabled (+ ) for the special area SA1 606 . In another            ably provide them itself) depending on the presence , in any
                                                                   abr
 example , the value of column 611 /606 for themobile station 5 special area registered in this switch parameters database , of
 MS (i) and for the special area 606 contains a set of values any mobile station associated with this special area in this
 enabled ( + ) or disabled ( - '), one for each checking data . SW switch parameters database .
    The column 612 /606 corresponding to the operating                FIG . 7 illustrates an example of part of a switch param
 parameter “ Mobile Station Control Flag ” is enabled ( + ) or     eters database 700 where 702 , 703, 704 , 705 , 706 , 708 ,
 disabled (* - ') at a given time for the mobile station MS (i) 10 712 /706 and 712 /708 have the samemeaning than respec
 and for the special area SA1 606 depending on the infor
 mation comprised into the updating signals received about tively  FIG  . 6
                                                                            602, 603 , 604 , 605 , 606 , 608 , 612 /606 and 612 /608 of
                                                                            . The contents and applications 'AAA ' are available to
 the presence of the mobile station into the special area 606 . themobile        station MS (i) when it is into the special area SA1
 In this example, at a given time, the mobile station MS (i) is
 supposed to be in SA1 606 as the operating parameter 15 706 . The contents and applications ‘BBB ' are available to
 “ Mobile Station Control Flag ” 612 /606 is enabled ( + 1 ).          the mobile station MS(i) when it is into the special area SA2
    When the “Mobile Station Control Flag ” is enabled ( + ) at        708 .
 a given time for the mobile station MS (i) and for the special          In the example of FIG . 7 , the part of the special operating
 area 606 , certain tariffs or services related to such special means included into the switch server receives , embedded
 area may be available for the user of the mobile station 20 into an updating signal from MS(i), a request to download
 depending on the value (+ ) or ( - ) of the corresponding tariffa content or an application 'AAA ', and the downloading
 or service flags for such mobilestation and special area into   right is granted because such updating signal from MS(i )
 the operating parameters database . In this example , at a      also indicates (value ' + ' in column 712 /706 ) that it is located
  given time, in the column “ Tariff identifier ' 614 /606 , the in the special area 706 at that time.
 parameter is then set at 'XXX ' and in the column 616 /606 , 25 In the same manner, in the example of FIG . 7 , the -part of
 the “ Tariff Flag ' is enabled (+ ). In the column 618 /606 , the     the special operating means included into the switch server
 ' Service identifier ' parameter is then set at ‘ YYY ' and in the receives , embedded into an updating signal from MS(i), a
 column 620 /606 , the 'Service Flag ’ of said service ‘ YYY ’ is   request to download a content or an application 'BBB ', but
 enabled (“ + ) . In the column 622 /606 , the ‘Service identifier  the downloading right is not granted because such updating
 parameter — is set at 2ZZ' and in the column 624 /606 , the 30 signal from MS (i ) also indicates (value in column 712 /708 )
 ‘Service Flag ’ of said service ' ZZZ ' is disabled (^ _ ') because   that it is not located in the special area 708 at that time.
 service ZZZ is disabled at that time for the mobile station      In some cases the switch server is entirely property of the
 MS (i) and the special area SA1 606 .                          mobile telephone network operator while in some others
    The set of columns 610/608 to 624/608 provides the same there is an agreement in place with a third party .
 kind of information for the special area SA2 608. The set of 35 Although the present invention has been described in
 checking data of mobile station MS(i ) (column 610 /608 )             detail for purpose of illustration , it is understood that such
 refers to wireless devices WD1 with the checking data 656 ,           detail is solely for that purpose , and variations can be made
 WD2 with the checking data 658 and WD3 with the check -               therein by those skilled in the art without departing from the
 ing data 660 for the special area SA2 608 . In this special        scope of the invention . Thus , while the preferred embodi
 area , at that time, the value of column 611/608 for MS (i) is 40 ments of the method and of the mobile system have been
 disabled ( - ) , the operating parameter "Mobile Station Con -        described in reference to the environment in which they
 trol Flag ” ( column 612 /608 ) is disabled ( - ). Tariff ‘PPP        were developed , they are merely illustrative of the principles
 ( column 614 /608 ) is enabled ( + ' in column 616 /608 ),            of the invention . Other embodiments and configurations
 service ' 000 ' ( column 618 /608 ) is enabled ( + in column may be devised without departing from the scope of the
 620 /608 ) and service 'RRR ' ( column 622 /608 ) is enabled 45 appended claims.
 (* + ' in column 624 /608 ). The tariff PPP and the services            Further, although the embodiments of the invention
 QQQ and RRR are associated to mobile station MS(i) when               describe with reference to the drawings comprise computer
 it is in ' the special area SA2 608.                                  apparatus and processes performed in computer apparatus ,
    In another embodiment of the invention , the special               the invention also extends to computer programs, particu
 operating means are distributed into different servers of the 50 larly computer programs on or in a carrier , adapted for
 mobile telephone network or of service providers associated           putting the invention into practice . The program may be in
 with the mobile telephone network and an updating signal              the form of source code, object code , a code intermediate
 may be sent to any of those servers .                                 source and object code such as in partially compiled form ,
    In a particular example of this embodiment, there will be          or in any other form suitable for use in the implementation
 a server containing a part of the special operating means that 55 of the processes according to the invention . The carrier may
 stores a pargmeters database (e.g . the database illustrated in       be any entity or device capable of carrying the program . For
 FIG . 6 ) of operating parameters containing the special areas        example , the carrier may comprise storage medium , such as
 checking data . In this example part of the updating signals          a ROM , for example a CD ROM or a semiconductor ROM ,
 from the mobile stations may be sent to this server of the            or a magnetic recording medium , for example a floppy disc
 mobile telephone network and processed by the part of the 60 or hard disk . Further, the carrier may be a transmissible
 special operating means that this server contains .          carrier such as an electrical or optical signal which may be
    In this example there will be at least another server, called      conveyed via electrical or optical cable or by radio or other
 switch server, into the mobile telephone network or associ            means . When the program is embodied in a signal which
 ated to it, server that is including another part of the special may be conveyed directly by a cable or other device or
 operating means that include another parameters database of 65 means, the carrier may be constituted by such cable or other
 operating parameters, called switch parameters database , device or means. Alternatively, the carrier may be an inte
 that does not contain checking data . The part of special             grated circuit in which the program is embedded , the inte
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 grated circuit being adapted for performing, or for use in the               coverage area of another radio communication defining
 performance of, the relevant processes.                                      device ; and ( 3 ) a sum of the coverage area and the
                                                                              another coverage area ,
    The invention claimed is :                                             wherein the distinctive defining signal includes second
    1 . A method associated with the use of a mobile station 5                information indicating whether or not the radio com
 and a radio communication defining device that transmits a                  munication defining device is located in a predeter
 distinctive defining signal, the method comprising:                         mined environment and the second information allow
    receiving and processing the distinctive defining signal in               ing the mobile station to generate an updating signal
      the mobile station , the distinctive defining signal at                 that enables presence related services for the mobile
      least defining a special area by one or more of: ( 1 ) a 10             station to be adjusted based on one or more of tariffs
      coverage area of the distinctive defining signal; ( 2 ) a               and service flags generated based on the updating
      portion of the coverage area that intersects with another               signal.
      area of coverage of another radio communication defin -       8 . The method according to claim 7 , further comprising
      ing device ; and (3 ) a sum of the area of coverage and    storing in a database of the radio communication defining
      the another area of coverage , the distinctive defining 15 device identification data of the radio transmitting device .
      signal including information indicating whether or not        9 . The method according to claim 7 , wherein the distinc
      the radio communication defining device is in a pre - tive defining signal is coded .
      determined environment; and                                           10 . The method according to claim 7, wherein the pre
    sending from the mobile station via a mobile telephone               determined environment comprises one or more of: ( 1) one
      network the updating signal to one or more servers of 20 or more specific geographic locations; ( 2 ) a physical envi
      a provider of presence related services about themobile            ronment; (3 ) an environment defined by an operator of a
      station ' s presence in the special area , the updating            mobile telephone network associated with the mobile sta
      signal being useable by the one or more servers of the             tion ; and ( 4 ) an area defined by a fixed network .
      provider of presence related services to adjust an oper               11 . The method according to claim 7 , wherein the dis
      ating parameter , which comprises one or more of a 25 tinctive defining signal comprises a signal with a frequency
      tariff and a service flag, to adjust, activate , or deactivate that is outside a frequency range allocated for a mobile
      the presence related services provided to the mobile               telephone network associated with the mobile station.
      station , and the updating signal comprising the infor                12 . A method comprising:
      mation indicative of whether or not the radio commu                  receiving first information in a radio communication
      nication defining device is located in the predetermined 30             defining device via communication with a fixed net
      environment.                                                           work to which the radio communication defining
    2 . The method according to claim 1 , wherein the sending                 device is physically connected ;
 of the updating signal is uncorrelated to any mobile station              the radio communication defining device using the first
 phone call establishment, the updating signal being sent at                  information to determine whether or not the radio
 least one of ( i) periodically , ( ii) at times recent to when the 35        communication defining device is in a predetermined
 mobile station enters into or exists from the special area, and              environment; and
 ( iii) when the mobile station remains in the special area .              transmitting from the radio communication defining
    3 . The method according to claim 1 , wherein the updating                device to a mobile station a distinctive defining signal
 signal comprises the result of a previous determination                      that at least partially defines a special area by one or
 performed by the mobile station about the mobile station 's 40              more of: ( 1 ) a coverage area of the distinctive defining
 presence in the special area .                                               signal; ( 2) a portion of the coverage area that intersects
   4 . The method according to claim 1, wherein the fre                       with another coverage area of another radio communi
 quency of the updating signal is different from the frequency                cation defining device ; and (3 ) a sum of the coverage
 of the distinctive defining signal.                                          area and the another coverage area ,
   5 . The method according to claim 1, wherein the prede - 45             wherein the distinctive defining signal includes second
 termined environment comprises one or more of: ( 1 ) one or                  information indicating whether or not the radio com
 more specific geographic locations; ( 2 ) a physical environ                munication defining device is located in a predeter
 ment; ( 3 ) an environment defined by an operator of the                    mined environment and the second information allow
 mobile telephone network ; and (4 ) an area defined by a fixed               ing the mobile station to generate an updating signal
 network .                                                      50            that enables presence related services for the mobile
    6 . The method according to claim 1, wherein the distinc                  station to be adjusted based on one or more of tariffs
 tive defining signal comprises a signalwith a frequency that                 and service flags generated based on the updating
 is outside a frequency range allocated for the mobile tele                   signal.
 phone network .                                                            13 . The method according to claim 12 , wherein the fixed
   7 . A method comprising:                                 55 network is an embedded system in a car.
   wirelessly receiving , in a radio communication defining       14 . The method according to claim 12 , further comprising
      device, first information from a radio transmitting storing in a memory of the radio communication defining
      device ;                                                 device one or more parameters useable to authenticate the
    the radio communication defining device using the first radio communication defining device in the fixed network .
      information to determine whether or not the radio 60 15 . The method according to claim 12 , wherein the
     communication defining device is in a predetermined predetermined environment comprises one or more of: ( 1)
      environment; and                                              one or more specific geographic locations; (2 ) a physical
   transmitting from the radio communication defining environment; (3 ) an environment defined by an operator of
     device to a mobile station a distinctive defining signal       a mobile telephone network associated with the mobile
     that at leastdefines a special area by one or more of: (1 ) 65 station ; and (4 ) an area defined by the fixed network .
      a coverage area of the distinctive defining signal; ( 2 ) a      16 . The method according to claim 12 , wherein the
      portion of the coverage area that intersects with another distinctive defining signal comprises a signal with a fre
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 quency that is outside a frequency range allocated for a
 mobile telephone network associated with the mobile sta
 tion .
                     *      *   *   *
